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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

KULWINDER KAUR
N65 Wl2848 Marach Road
Menomonee Falls, WI 53051

Plaintiff

-against-                                       Civil Action No.

KEVIN MCALEENAN, Acting Secretary of
Homeland Security
Washington, DC 20528                            COMPLAINT

KENNETH T. CUCCINELLI , Acting
Director of the United States Citizenship and
Immigration Services
20 Massachusetts Avenue, N.W.
Washington, DC 20529

KAY LEOPOLD
Milwaukee Field Office Director
310 East Knapp Street
Milwaukee, WI 53202




                                         COMPLAINT

                                DESCRIPTION OF ACTION


        1. This complaint is brought by Kulwinder Kaur against the Defendants to compel a

decision on her Form I-290B, Motion to Reopen the denial of her Form I-485, Application for

Adjustment of Status, which has been pending with the defendants for over 2 years.
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1                                             JURISDICTION
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3           2. This being a civil action against the United States arising under the Mandamus Act, 28

4    U.S.C. § 1361, and the Administrative Procedure Act, 5 U.S.C. § 701 et seq., both laws of the

5    United States, original jurisdiction over this matter is vested in this Court by 28 U.S.C. § 1331.
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                                      DESCRIPTION OF PARTIES
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8           3. The plaintiff, Kulwinder Kaur, is a citizen and national of India who is currently
9    located in Wisconsin. Her alien number is AXXXXXXXX.
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            4. The defendant, KEVIN MCALEENAN, is the Acting Secretary of Homeland Security,
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     and as such has the authority to adjudicate motions to reopen applications for adjustment of
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13   status. He resides for official purposes in the District of Columbia.

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             5. The defendant, KENNETH T. CUCCINELLI, is the Acting Director of the United
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     States Citizenship and Immigration Services (USCIS), the agency within the Department of
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     Homeland Security which adjudicates motions to reopen applications for adjustment of status.
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     He resides for official purposes in the District of Columbia.
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19          6. The defendant, KAY LEOPOLD, is the Director of the USCIS’s Milwaukee Field

20   Office where Kulwinder Kaur’s motion is currently pending and has immediate responsibility for

21   its adjudication. She resides for official purposes in the State of Wisconsin.

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1                             BRIEF STATEMENT OF RELEVANT FACTS
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             7. On or about May 26, 2017 a motion to reopen the denial of her application for
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4    adjustment of status was filed by Kulwinder Kaur’s with the United States Citizenship and

5    Immigration Services, and was assigned File Number MSC1791289497.
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             8. As of today, Ms. Kaur’s motion to reopen remains pending with the USCIS and
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     unadjudicated.
8
                                                   COUNT I
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             9. Defendant KEVIN MCALEENAN, Secretary of Homeland Security, Defendant

11   KENNETH T. CUCCINELLI, Director of the United States Citizenship and Immigration

12   Services, and Defendant KAY M. LEOPOLD Chief, Director of the United States Citizenship

13   and Immigration Services’ Milwaukee Field Office, are each and all officers or employees of the

14   United States and the Department of Homeland Security.
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             10. Defendant KEVIN MCALEENAN, Acting Secretary of Homeland Security,
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     Defendant KENNETH T. CUCCINELLI, Director of the United States Citizenship and
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     Immigration Services, and Defendant KAY M. LEOPOLD, Director of the United States
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     Citizenship and Immigration Services’ Milwaukee Field Office, each and all owe a duty to the
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     Plaintiff Kulwinder Kaur to adjudicate her motion to reopen within a reasonable period of time. 5
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21   U.S.C. § 555(b) ("With due regard for the convenience and necessity of the parties or their

22   representatives and within a reasonable time, each agency shall proceed to conclude a matter

23   presented to it.").

24                    11. 8 U.S.C. § 1571(b) provides that “It is the sense of Congress that the
25   processing of an immigration benefit application should be completed not later than 180 days


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1    after the initial filing of the application, except that a petition for a nonimmigrant visa under
2    section 214(c) of the Immigration and Nationality Act [8 USCS § 1184(c)] should be processed
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     not later than 30 days after the filing of the petition.”
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             12. Accordingly, the over 2 years in which this application has been pending with
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     Defendant KEVIN MCALEENAN, Acting Secretary of Homeland Security, Defendant
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     KENNETH T. CUCCINELLI, Director of the United States Citizenship and Immigration
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     Services, and Defendant KAY F. LEOPOLD, Director of the United States Citizenship and
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     Immigration Services’ Milwaukee Field Office, is well beyond that which these officers or
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     employees reasonably require to adjudicate it.
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11           13 This Court has authority under 28 U.S.C. § 1361 to compel an officer or employee of

12   the United States to perform a duty owed to the Plaintiffs.
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             14. This Court also has authority under 5 U.S.C. § 706(1) to compel agency action
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     unlawfully withheld or unreasonably delayed.
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                                           RELIEF REQUESTED
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19           WHEREFORE it is respectfully requested that the Court compel Defendants KEVIN
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     MCALEENAN, Acting Secretary of Homeland Security, KENNETH T. CUCCINELLI,
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     Director of the United States Citizenship and Immigration Services, and KAY M LEOPOLD,
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     Chief Director of the United States Citizenship and Immigration Services’ Office, to adjudicate
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     Kulwinder Kaur’s motion to reopen her application for adjustment of status forthwith, and to
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     take such other action as it deems appropriate.
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1    Respectfully submitted,
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3

4                                            s/Michael E. Piston
                                             Michael E. Piston MI0002
5                                            Attorney for the Plaintiff
                                             225 Broadway, Suite 307
6                                            New York, NY, 10007
                                             Ph: 646-845-9895
7                                            Fax: 206-770-6350
                                              Email: michaelpiston4@gmail.com
8
                                             Dated: September 9, 2019
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